         Case 1:19-cv-00879-CJN Document 26-1 Filed 04/15/21 Page 1 of 28




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

JUDICIAL WATCH, INC.,                          )
                                               )
                        Plaintiff,             )
                                               )       Civil Action No. 19-cv-0879 (CJN)
v.                                             )
                                               )
U.S. DEPARTMENT OF JUSTICE,                    )
                                               )
                        Defendant.             )
                                               )

                          DECLARATION OF RAMONA R. COTCA

         I, Ramona R. Cotca, declare and state as follows:

         1.     I am an attorney employed by Judicial Watch, Inc. (“Judicial Watch”) and counsel

for Plaintiff in the above-captioned matter. I have personal knowledge of the matters set forth

below.

         2.     Attached hereto as Exhibit 1 is a true and correct copy of the FBI Electronic

Communication, “Meeting with AP Reporters,” dated May 11, 2017, drafted by Karen A.

Greenaway, as it is filed on the public docket in U.S. v. Paul J. Manafort, et al., Case No. 1:18-

cr-00083-TSE (E.D. Va.) (ECF 108-3) (filed July 6, 2018).

         3.      Attached hereto as Exhibit 2 is a true and correct copy of the printout of a

Calendar Entry from Andrew Weissman to Shreve Ariail, with subject line: “Accepted: FW:

Meeting with AP,” for April 11, 2017, produced by Defendant’s Criminal Division to Plaintiff

on March 13, 2020 as responsive to Plaintiff’s FOIA request in this case.

         4.     Attached hereto as Exhibit 3 is a true and correct copy of the FBI Electronic

Communication, “Meeting with AP Reporters,” dated May 11, 2017, with an attached copy of

the AP reporters’ business cards, that was produced by the FBI to Plaintiff on October 17, 2019,
        Case 1:19-cv-00879-CJN Document 26-1 Filed 04/15/21 Page 2 of 28




as responsive to Plaintiff’s FOIA request in this case. This record appears to be a duplicate of

Exhibit 1 referenced in Paragraph 3 above, except that the names of the FBI agents are redacted.

       5.      Attached hereto as Exhibit 4 is a true and correct copy of the printout of a

Calendar Entry from Andrew Weissman to Jack Gillum, with subject line: “Accepted: Meeting

with AP,” for April 11, 2017, produced by Defendant’s Criminal Division to Plaintiff on March

13, 2020 as response to Plaintiff’s FOIA request in this case.

       6.      Attached hereto as Exhibit 5 is a true and correct copy of an email record of DOJ

Public Affairs Office Director Sarah Isgur Flores, bearing the email address “sarah.isgur.flores@

usdoj.gov,” available at https://www.justice.gov/oip/foia-library/foia-processed/general_topics/

sarah_isgur_flores_11_19_20/download at p. 1 (last accessed April 14, 2021).


       I declare under penalty of perjury that the foregoing is true and correct. Executed on

April 15, 2021 in Washington, D.C.


                                                     /s/ Ramona R. Cotca
                                                     Ramona R. Cotca




                                               -2-
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                       Exhibit 1
      Case 1:19-cv-00879-CJN
Case 1:18-cr-00083-TSE       Document
                       Document       26-1 07/06/18
                                108-3 Filed Filed 04/15/21
                                                      Page 1Page  4 of 28 1892
                                                             of 7 PageID#
      Case 1:19-cv-00879-CJN
Case 1:18-cr-00083-TSE       Document
                       Document       26-1 07/06/18
                                108-3 Filed Filed 04/15/21
                                                      Page 2Page  5 of 28 1893
                                                             of 7 PageID#
      Case 1:19-cv-00879-CJN
Case 1:18-cr-00083-TSE       Document
                       Document       26-1 07/06/18
                                108-3 Filed Filed 04/15/21
                                                      Page 3Page  6 of 28 1894
                                                             of 7 PageID#
      Case 1:19-cv-00879-CJN
Case 1:18-cr-00083-TSE       Document
                       Document       26-1 07/06/18
                                108-3 Filed Filed 04/15/21
                                                      Page 4Page  7 of 28 1895
                                                             of 7 PageID#
      Case 1:19-cv-00879-CJN
Case 1:18-cr-00083-TSE       Document
                       Document       26-1 07/06/18
                                108-3 Filed Filed 04/15/21
                                                      Page 5Page  8 of 28 1896
                                                             of 7 PageID#
      Case 1:19-cv-00879-CJN
Case 1:18-cr-00083-TSE       Document
                       Document       26-1 07/06/18
                                108-3 Filed Filed 04/15/21
                                                      Page 6Page  9 of 28 1897
                                                             of 7 PageID#
      Case 1:19-cv-00879-CJN
Case 1:18-cr-00083-TSE       Document
                        Document 108-3 26-1  Filed 04/15/21
                                       Filed 07/06/18  Page Page
                                                            7 of 7 10 of 28 1898
                                                                   PageID#
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                       Exhibit 2
          Case 1:19-cv-00879-CJN Document 26-1 Filed 04/15/21 Page 12 of 28

                                                       U.S. Department of Justice

                                                       Criminal Division



Office of Enforcement Operations                       Washington, D.C. 20530




VIA Electronic Mail                                    March 13, 2020

Ramona R. Cotca
Judicial Watch, Inc.
425 Third St., SW
Suite 800                                             Judicial Watch, Inc. v. U.S. Department of
Washington, D.C. 20024                                Justice, 19-cv-00879-CJN (D.D.C.)

Dear Ms. Cotca:

         This is the sixth interim response to your Freedom of Information Act request dated July
5, 2018, for records concerning an April 2017 meeting between DOJ, FBI personnel, and
reporters of the Associated Press. Your request is currently the subject of the above referenced
litigation.

        Please be advised that a search has been conducted in the appropriate sections and we
continue to review and process the collected records. This response pertains to two hundred two
(202) pages of records, which comprises the remainder of records responsive to this request. At
this time, we have determined that one hundred forty-four (144) pages are duplicates and have
processed an additional seventeen (17) pages of records.

         After careful review, I have determined that two (2) pages must be withheld in full and
that fifteen (15) pages may be released in part. All of these withholdings are made pursuant to:

          5 U.S.C. § 552(b)(5), which concerns certain inter- or intra-agency communications
          protected by the deliberative process privilege and the attorney work-product privilege;

          5 U.S.C. § 552(b)(6), which concerns materials the release of which would constitute a
          clearly unwarranted invasion of the person privacy of third parties; and

          5 U.S.C. § 552(b)(7)(C), which concerns records or information compiled for law
          enforcement purposes the release of which could reasonably be expected to constitute an
          unwarranted invasion of the personal privacy of third parties.

      This Office also located a voicemail, which is being withheld in full pursuant to
Exemption 6.

       There remain forty-one pages that are currently under review. Please be advised that this
Office anticipates issuing its final response on those pages on or before April 10, 2020.
       Case 1:19-cv-00879-CJN Document 26-1 Filed 04/15/21 Page 13 of 28



From:         Ariail, Shreve (USANYE)
To:           Weissmann, Andrew (CRM)
Subject:      Accepted: FW: Meeting with AP
Start:        Tuesday, April 11, 2017 9:00:00 AM
End:          Tuesday, April 11, 2017 10:30:00 AM
Location:     4th floor VTC (4204)
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                       Exhibit 3
       Case 1:19-cv-00879-CJN Document 26-1 Filed 04/15/21 Page 15 of 28
                                                                                      U.S. Department of Justice




                                                                                     Federal Bureau of Investigation
                                                                                     Washington, D.C. 20535

                                                                                     October 17, 2019

MR. SEAN DUNAGAN
JUDICIAL WATCH, INC.
400 SCOTT AVENUE
FORT COLLINS, CO 80521
                                                                Civil Litigation No.: 19-cv-879
                                                                FOIPA Request No.: 1410979-000
                                                                Subject: Records related to the April 2017 meeting
                                                                between DOJ, FBI and the Associated Press

Dear Mr. Dunagan:

          The enclosed documents were reviewed under the Freedom of Information/Privacy Acts (FOIPA), Title 5,
United States Code, Section 552/552a. Below you will find checked boxes under applicable statutes for the
exemptions asserted to protect information exempt from disclosure. The appropriate exemptions are noted on the
processed pages next to redacted information. In addition, a deleted page information sheet was inserted to indicate
where pages were withheld entirely pursuant to applicable exemptions. An Explanation of Exemptions is enclosed to
further explain justification for withheld information.

                            Section 552                                        Section 552a
            (b)(1)                                 (b)(7)(A)                      (d)(5)
            (b)(2)                                 (b)(7)(B)                       (j)(2)
            (b)(3)                                 (b)(7)(C)                       (k)(1)
                                                   (b)(7)(D)                       (k)(2)
                                                   (b)(7)(E)                       (k)(3)
                                                   (b)(7)(F)                       (k)(4)

            (b)(4)                                 (b)(8)                          (k)(5)

            (b)(5)                                 (b)(9)                          (k)(6)
            (b)(6)                                                                 (k)(7)

        28 pages were reviewed and 28 pages are being released.

       Please see the paragraphs below for relevant information specific to your request and the enclosed FBI
FOIPA Addendum for standard responses applicable to all requests.

            Document(s) were located which originated with, or contained information concerning, other
            Government Agency (ies) [OGA].

                This information has been referred to the OGA(s) for review and direct response to you.
                We are consulting with another agency. The FBI will correspond with you regarding this information
                when the consultation is completed.

         Please refer to the enclosed FBI FOIPA Addendum for additional standard responses applicable to your
request. “Part 1” of the Addendum includes standard responses that apply to all requests. “Part 2” includes
additional standard responses that apply to all requests for records on individuals. “Part 3” includes general
information about FBI records that you may find useful. Also enclosed is our Explanation of Exemptions.

        Although your request is in litigation, we are required by law to provide you the following information:
Case 1:19-cv-00879-CJN Document 26-1 Filed 04/15/21 Page 16 of 28
                    Obtained by Judicial Watch, Inc. via FOIA
Case 1:19-cv-00879-CJN Document 26-1 Filed 04/15/21 Page 17 of 28
                    Obtained by Judicial Watch, Inc. via FOIA
Case 1:19-cv-00879-CJN Document 26-1 Filed 04/15/21 Page 18 of 28
                    Obtained by Judicial Watch, Inc. via FOIA
Case 1:19-cv-00879-CJN Document 26-1 Filed 04/15/21 Page 19 of 28
                    Obtained by Judicial Watch, Inc. via FOIA
Case 1:19-cv-00879-CJN Document 26-1 Filed 04/15/21 Page 20 of 28
                    Obtained by Judicial Watch, Inc. via FOIA
Case 1:19-cv-00879-CJN Document 26-1 Filed 04/15/21 Page 21 of 28
                    Obtained by Judicial Watch, Inc. via FOIA
Case 1:19-cv-00879-CJN Document 26-1 Filed 04/15/21 Page 22 of 28
                    Obtained by Judicial Watch, Inc. via FOIA
Case 1:19-cv-00879-CJN Document 26-1 Filed 04/15/21 Page 23 of 28
                    Obtained by Judicial Watch, Inc. via FOIA
Case 1:19-cv-00879-CJN Document 26-1 Filed 04/15/21 Page 24 of 28




                       Exhibit 4
          Case 1:19-cv-00879-CJN Document 26-1 Filed 04/15/21 Page 25 of 28

                                                       U.S. Department of Justice

                                                       Criminal Division



Office of Enforcement Operations                       Washington, D.C. 20530




VIA Electronic Mail                                    March 13, 2020

Ramona R. Cotca
Judicial Watch, Inc.
425 Third St., SW
Suite 800                                             Judicial Watch, Inc. v. U.S. Department of
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       Case 1:19-cv-00879-CJN Document 26-1 Filed 04/15/21 Page 26 of 28



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To:           Weissmann, Andrew (CRM)
Subject:      Accepted: Meeting with AP
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End:          Tuesday, April 11, 2017 10:30:00 AM
Location:     4th floor VTC (4204)
Case 1:19-cv-00879-CJN Document 26-1 Filed 04/15/21 Page 27 of 28




                       Exhibit 5
                           Case 1:19-cv-00879-CJN Document 26-1 Filed 04/15/21 Page 28 of 28


           Non-Responsive Record: Sarah Flores Transmitting Email to OIP




            - - - Forwarded message - - -
            From: Bryant, Errical (OAG) <Errical.Bryant@usdoj.gov>
            Date: Wed, Mar 1, 2017 at 6:36 AM
            Subject: FW: Schedule Request - New Attorney Orientation on 3/16/17
            To: Flores, Sarah Isgur. (OPA) <Sara h.lsgur.Flores@usdoj .gov>, Sarah Isgur Flores




            Good morning Sarah,

            We will be adding this event to the AG's calendar. I will list you as the POC and asked that Trisha
            reach out to you for remark content.

            Thanks




            From: Fillbach, Trisha A {OARM)
            Sent: Tuesday, February 28, 2017 4:46 PM
            To: Bryant, Errical {OAG) <ebryant@jmd.usdo j.gov>
            Subject: RE: Schedule Request - New Attorney Orientation on 3/16/17




            Hi Errical.:




            Yes, and I appreciate you asking. Attached please find the agenda from last year. We have a relatively
            similar program planned, but we have a few speaker changes. Specifically, we have a few new



Document ID: 0.7.4314 .5106
